
Judge Nancy Fuerst Cuyahoga County Court of Common Pleas (Eighth District)
Judge Deborah A. Alspach Marion County Court of Common Pleas (Third District)
Judge Fanon A. Rucker Hamilton County Municipal Court (First District)
Judge Eugene Lucci Lake County Court of Common Pleas (Eleventh District)
Judge Michael T. Hall Second District Court of Appeals (Second District)
The court designates Judge Nancy Fuerst as chair of the commission. Pursuant to R.C. 2701.11, Stephanie E. Hess, Esq., interim administrative director of the Supreme Court of Ohio, shall serve as secretary to the commission, with authority to sign entries and orders on behalf of and at the direction of the commission or its chair.
All pleadings and documents in this matter shall be filed with the clerk of the Supreme Court. The original and seven copies of all documents shall be filed. Service on the commission shall be made by serving the secretary. The Rules of Practice of the Supreme Court of Ohio shall apply to all proceedings before the commission, except as otherwise ordered by the court. The clerk of the Supreme Court shall serve all orders of this court and the commission on the parties to this action.
